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 9
10                         UNITED STATES DISTRICT COURT
11                      NORTHERN DISTRICT OF CALIFORNIA
12
13   MOHAMMAD NOMAN SHAIKH,                      Case No. 3:17-cv-6486
14                   Plaintiff,                   STIPULATION TO DISMISS
                                                  AND [PROPOSED] ORDER
15         v.
16   EXPERIAN INFORMATION
17   SOLUTIONS, INC. and Does 1-10,

18                   Defendant.

19
20         The parties hereby stipulate to dismiss this action.
21         Each side will bear its own costs and attorney’s fees.
22
23
24
25
26
27
28
                                                    STIPULATION TO DISMISS and
                                                    [PROPOSED] ORDER
       Case 3:17-cv-06486-JD Document 23 Filed 03/06/18 Page 2 of 2



 1
 2 Dated: March 6, 2018
                                                 Dupre Law Firm, P.C.
 3
 4
                                                 By:/s/ Ben E. Dupre
 5                                                  Ben E. Dupre
 6                                                   Attorneys for Plaintiffs
 7
 8
 9   Dated: March 6, 2018                        JONES DAY
10
11                                               By: /s/ Christopher K. Spiers
                                                    Christopher K. Spiers
12
                                                Attorneys for Defendant
13                                              EXPERIAN INFORMATION
                                                SOLUTIONS, INC.
14
15
16
                                      [Proposed] ORDER
17
18           The stipulation of the parties is hereby adopted by the Court.
19
     IT IS SO ORDERED.
20
21
     Date:
22
23   ____
     ______________________
24   U.S. District Court Judge
25
26
27
28

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